      Case 2:19-cv-00649-BWA-MBN Document 1 Filed 01/28/19 Page 1 of 5



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

LARRY PORTER,                               )
                                            )    Civil Action No.: 2:19-cv-649
       Plaintiff,                           )
                                            )    Judge:
       v.                                   )
                                            )    Magistrate:
CREDIT ACCEPTANCE                           )
CORPORATION,                                )    Division:
                                            )
       Defendant.                           )    Section:

                             PLAINTIFF’S COMPLAINT

       Plaintiff, LARRY PORTER (“Plaintiff”), through Plaintiff’s attorney, SCOTT,

VICKNAIR, HAIR & CHECKI, LLC, alleges the following against Defendant, CREDIT

ACCEPTANCE CORPORATION (“Defendant”):

                                   INTRODUCTION

   1. Plaintiff’s Complaint is based on the Telephone Consumer Protection Act

(“TCPA”), 47 U.S.C. § 227 and the Louisiana Unfair Trade Practices and Consumer

Protection Act (“LUTPA”), La. R.S. § 51:1401 et seq.

                            JURISDICTION AND VENUE

   2. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, 1367, 47 U.S.C. § 227.

   3. Subject-matter jurisdiction of this court arises pursuant to 47 U.S.C. § 227, as

confirmed by Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 747 (2012), and 28 U.S.C.

§ 1367 grants this court supplemental jurisdiction over the state claims contained within.
      Case 2:19-cv-00649-BWA-MBN Document 1 Filed 01/28/19 Page 2 of 5



   4. Venue and personal jurisdiction in this District are proper because Defendant does

or transacts business within this District, and a material portion of the events at issue

occurred in this District.

                                         PARTIES

   5. Plaintiff is a natural person residing in Gretna, Louisiana.

   6. Plaintiff and Defendant are persons as defined by 47 U.S.C. § 153.

   7. Defendant is a debt collector domiciled in Southfield, Michigan.

   8. Defendant is a business entity engaged in the collection of debt within the State of

Louisiana.

   9. Defendant’s business includes, but is not limited to, collecting on unpaid,

outstanding account balances.

   10. Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and

insurers.

   11. Defendant’s agents, employees, officers, members, directors, assigns, and

representatives acted within the course and scope of their employment when taking the

actions stated herein.

                             FACTUAL ALLEGATIONS

   12. Defendant is attempting to collect a debt from Plaintiff.

   13. In July of 2017, Defendant repossessed Plaintiff’s vehicle.

   14. When Plaintiff inquired about the repossession, he was told it happened due to a


                                             2
      Case 2:19-cv-00649-BWA-MBN Document 1 Filed 01/28/19 Page 3 of 5



missed payment six months prior.

   15. Upon information and belief, Defendant was not entitled to repossess Plaintiff’s

vehicle.

   16. Plaintiff suffered financial loss due to the repossession but was able to recover

his vehicle.

   17. In or around July of 2017, Defendant began calling Plaintiff on Plaintiff’s cellular

telephone.

   18. In or around July of 2017, Plaintiff answered one of Defendant’s calls and spoke

with one of Defendant’s collectors.

   19. During the aforementioned conversation, Plaintiff told Defendant’s collector to

stop calling.

   20. On multiple occasions since the aforementioned conversation, Plaintiff has

spoken with Defendant’s collectors and told them to stop calling.

   21. Despite Plaintiff’s requests, Defendant continued to place collection calls to

Plaintiff’s cellular telephone.

   22. Upon answering calls from Defendant, Plaintiff was met with a prerecorded

message before a person came on the line.

   23. When Plaintiff does not answer Defendant’s calls, Defendant leaves a prerecorded

message on Plaintiff’s voicemail.

   24. Upon information and belief, these calls were placed via an Automatic Telephone

Dialing System (“ATDS”).


                                             3
      Case 2:19-cv-00649-BWA-MBN Document 1 Filed 01/28/19 Page 4 of 5



   25. Defendant’s calls were not placed for emergency purposes.

   26. Plaintiff never provided Defendant with consent to call Plaintiff’s cellular phone.

   27. Plaintiff revoked any consent Defendant may have believed it had to call

Plaintiff’s cellular phone.

   28. Upon information and belief, Defendant knowingly and intentionally called

Plaintiff via an ATDS and with an artificial or prerecorded voice without Plaintiff’s

consent.

   29. Plaintiff reported Defendant to the Better Business Bureau, however, Defendant

responded with false, unfair, and deceptive representations.

   30. Plaintiff suffered an ascertainable loss due to Defendant’s actions

   31. Plaintiff suffered mental and emotional distress due to Defendant’s actions.

                              VIOLATIONS OF THE TCPA

   32. The preceding paragraphs are incorporated as if fully stated herein.

   33. Defendant is liable under 47 U.S.C. § 227(b)(1) for placing ATDS and

prerecorded or artificial voice calls to Plaintiff’s cellular phone without consent.

   34. These calls were made knowingly and willfully.

    VIOLATIONS OF THE LOUISIANA UNFAIR TRADE PRACTICES AND
                   CONSUMER PROTECTION ACT

   35. The preceding paragraphs are incorporated as if fully stated herein.

   36. The Defendants’ actions stated herein were knowingly unfair and deceptive as

defined by La. R.S. § 51:1405.

                                       JURY DEMAND
                                              4
      Case 2:19-cv-00649-BWA-MBN Document 1 Filed 01/28/19 Page 5 of 5



   37. Plaintiff hereby demands a trial by jury.

                                PRAYER FOR RELIEF

       Plaintiff respectfully requests that judgment be entered in Plaintiff’s favor and

against Defendant, including the following relief:

   1. An injunction requiring Defendant to cease all collection efforts against Plaintiff

       for the alleged debt.

   2. Statutory damages of $1,500 per call for Defendant’s willful violations of the

       TCPA.

   3. Statutory damages of $500 per call for Defendant’s negligent violations of the

       TCPA.

   4. All actual damages suffered by Plaintiff pursuant to and La. R.S. § 51:1409.

   5. Trebled damages suffered by Plaintiff for Defendants’ knowing use of deceptive

       acts or practices pursuant to La. R.S. § 51:1409.

   6. All costs and attorney’s fees incurred by Plaintiff pursuant to La. R.S. § 51:1409.

   7. Any other relief this Court deems appropriate.

DATED: January 28, 2019                   RESPECTFULLY SUBMITTED,

                                          /s/ Samuel J. Ford
                                          Samuel J. Ford, Esq., T.A. #36081
                                          Scott, Vicknair, Hair & Checki, LLC
                                          909 Poydras St., Ste. 1100
                                          New Orleans, LA 70112
                                          ford@svhclaw.com
                                          Phone: (504) 684-5200
                                          Fax: (504) 613-6351
                                          Attorney for Plaintiff


                                             5
